                        UNITED STATES COURT OF APPEALS
                            FOR THE EIGHTH CIRCUIT

                                            No: 23-2681

                   Dylan Brandt, by and through his mother Joanna Brandt, et al.

                                                       Appellees

                                                  v.

          Tim Griffin, in his official capacity as the Arkansas Attorney General, et al.

                                                       Appellants

                                     ------------------------------

                                      State of Missouri, et al.

                                        Amici on Behalf of Appellant(s)


______________________________________________________________________________

        Appeal from U.S. District Court for the Eastern District of Arkansas - Central
                                   (4:21-cv-00450-JM)
______________________________________________________________________________

                                              ORDER

       The petition for initial hearing en banc is granted. Judge Shepherd did not participate in

the consideration or decision of this matter. Appellants's brief and appendix are due November 6,

2023. Once the briefs have been filed, counsel shall provide 30 copies of the brief and 11 copies

of the appendix.



                                                         October 06, 2023




Order Entered at the Direction of the Court:
Clerk, U.S. Court of Appeals, Eighth Circuit.
____________________________________
            /s/ Michael E. Gans



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